          Case 1:22-cr-00354-RCL Document 21 Filed 11/12/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 22-cr-354-RCL
                                              :
RICHARD SLAUGHTER, and                        :
                                              :
CADEN PAUL GOTTFRIED                          :
                                              :
                       Defendants.            :


                    UNOPPOSED MOTION FOR PROTECTIVE ORDER

       The United States of America hereby respectfully moves the Court for the entry of a

protective order governing the production of discovery by the parties in the above-captioned case.

The United States and counsel for Defendant have reached an agreement as to the proposed

protective order. Therefore, the United States is authorized to represent to the Court that Defendant

does not oppose this motion or the entry of the attached protective order.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY
                                              D.C. Bar Number 481052


                                      By:     /s/ Stephen J. Rancourt
                                              STEPHEN J. RANCOURT
                                              Assistant United States Attorney, Detailee
                                              Texas Bar 24079181
                                              601 D Street, N.W.
                                              Washington, D.C. 20530
                                              (806) 472-7398
                                              stephen.rancourt@usdoj.gov
